        2:18-cv-02050-CSB-EIL # 14           Page 1 of 3                                              E-FILED
                                                                           Friday, 16 March, 2018 04:08:15 PM
                                                                                 Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

SARAH MILLER, as guardian and next                )
friend of O.J., a minor,                          )
                                                  )
             Plaintiff,                           )   Case No. 18-cv-2050
                                                  )
             v.                                   )   Hon. Colin S. Bruce,
                                                  )   District Judge
PATRICK HARTSHORN, KEVIN                          )
MASKEL, NICOLE ROUSE, LAURIE                      )   Hon. Eric I. Long,
BERNARDI, UNKNOWN VERMILION                       )   Magistrate Judge
COUNTY SHERIFF’S DEPARTMENT                       )
EMPLOYEES, and the COUNTY OF                      )
VERMILION,                                        )   JURY TRIAL DEMANDED
                                                  )
             Defendants.                          )
                                                  )

                      REPORT OF RULE 26(f) PLANNING MEETING

       Plaintiff being represented by Loevy & Loevy and Defendants being represented by
Hervas, Condon & Bersani, P.C., counsel met on March 16, 2018 for the purpose of formulating
a proposed discovery calendar for consideration by the Court. The following are dates upon
which counsel have agreed.

       1. Parties will exchange initial disclosures pursuant to FED. R. CIV. P. 26(a)(1) by April
23, 2018.

       2. The deadline for amendment of pleadings is July 9, 2018.

       3. The deadline for joining additional parties is July 9, 2018.

        4. Plaintiff shall disclose experts and provide expert reports by October 9, 2018.
Plaintiff shall make any such experts available for deposition by October 23, 2018.

      5. Defendants shall disclose experts and provide expert reports by November 23, 2018.
Defendants shall make any such experts available for deposition by December 7, 2018.

       6. Plaintiff shall disclose rebuttal experts and provide rebuttal expert reports by January
7, 2019. Plaintiff shall make any such experts available for deposition by January 21, 2019.

       7. All discovery, including deposition of experts, is to be completed by January 21, 2019.

       8. The deadline for filing case dispositive motions shall be February 28, 2019.
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        9. If applicable, insert here any provisions for disclosure or discovery or electronically
stored information and/or any agreements the parties reach for asserting claims of privilege or of
protection as trial preparation materials after production.


SARAH MILLER, as guardian and                            PATRICK HARTSHORN, IN
next friend of O.J., a minor,                            MASKEL, NICOLE ROUSE, LAURIE
Plaintiff                                                BERNARDI, UNKNOWN
                                                         VERMILION COUNTY SHERIFF’S
BY:    /s/ Rachel Brady__________                        DEPARTMENT EMPLOYEES, and
       One of Plaintiff’s Attorneys                      the COUNTY OF VERMILION,
                                                         Defendants

                                                         BY:     /s/ Michael W. Condon_____
                                                                 One of Defendants’ Attorneys




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                                CERTIFICATE OF SERVICE

        I, Rachel Brady, an attorney, hereby certify that on March 16, 2018 I electronically filed
the foregoing Rule 26(f) Meeting Report together with proposed order, with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to the following:


                                                     s/ Rachel Brady__________
                                                     One of Plaintiff’s Attorneys


Michael W. Condon
Jason Rose
Attorneys for Defendants
HERVAS, CONDON & BERSANI, P.C.
333 W. Pierce Road, Suite 195
Itasca, IL 60143-3156
Phone: 630-773-4774
mcondon@hcbattorneys.com
jrose@hcbattorneys.com




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